                       UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF MICHIGAN

 In The Matter of:                                           Chapter 13
                                                             16-43021-pjs
 Warren J Williams                                           Judge Shefferly

 Debtor(s)
 ______________________________/

   STIPULATION RESOLVING SPECIALIZED LOAN SERVICING LLC AS
 SERVICER FOR THE BANK OF NEW YORK MELLON, F/K/A THE BANK OF
 NEW YORK, SUCCESSOR IN INTEREST TO JPMORGAN CHASE BANK, N.A.
  AS TRUSTEE FOR STRUCTURED ASSET MORTGAGE INVESTMENTS II
    INC., BEAR STEARNS AL T -A TRUST, MORTGAGE PASS-THROUGH
     CERTIFICATES, SERIES 2005-7S’ MOTION FOR RELIEF FROM THE
            AUTOMATIC STAY AND WAIVING F.R.B.P. 4001(A)(3)

        Warren J Williams (“Debtor”), by and through counsel, Michelle Marrs, and

 Specialized Loan Servicing LLC as servicer for The Bank of New York Mellon, f/k/a

 The Bank of New York, Successor in Interest to JPMorgan Chase Bank, N.A. as Trustee

 for Structured Asset Mortgage Investments II INC., Bear Stearns AL T -A Trust,

 Mortgage Pass-Through Certificates, Series 2005-7 (“Creditor”), by and through its

 counsel, SCHNEIDERMAN & SHERMAN, P.C., hereby stipulate to the following:


        IT IS HEREBY STIPULATED that the Debtor is to file an Amended Chapter 13

 Plan within seven days of this order being entered by the Court or the Automatic Stay

 shall be granted as to Creditor regarding the Property located at 11000 Warner Road,

 Concord, MI 49237, without further notice, motion or hearing being required.

        IT IS FUTHER STIPULATED that should the Debtor default in any future

 payments to the Trustee, Creditor may file with the Court and serve upon the Debtor,

 Debtor’s counsel, and the Chapter 13 Trustee, a Notice of Default; that in the event that

 the Default is not then cured 100 percent on the Trustee’s records within 30 days from the




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 date of service of said Notice, Creditor may submit an Order Granting Relief from the

 Automatic Stay to the Court, and Relief from the Automatic Stay shall be granted as to

 Creditor regarding the Property located at 11000 Warner Road, Concord, MI 49237,

 without further notice, motion or hearing being required.

        IT IS FURTHER STIPULATED that Creditor is to file a Supplemental Proof of

 Claim for its attorney fees and costs associated with the filing of the Motion for Relief

 from Stay, to be paid by the debtor



        Approved for entry:



        /S/ Panayiotis D. Marselis
        Panayiotis D. Marselis (P66572)                /S/ Michelle Marrs_______
        pmarselis@sspclegal.com                        Michelle Marrs
        Attorney for Creditor                          Mandtecf@gmail.com
        23938 Research Drive, Suite 300                Attorney for Debtor
        Farmington Hills, Michigan 48335               6553 Jackson Road
        248-539-7400                                   Ann Arbor, MI 48103
                                                       734-663-0555




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 Warren J Williams                                           Judge Shefferly

 Debtor(s)
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   ORDER PURSUANT TO STIPULATION RESOLVING SPECIALIZED LOAN
  SERVICING LLC AS SERVICER FOR THE BANK OF NEW YORK MELLON,
      F/K/A THE BANK OF NEW YORK, SUCCESSOR IN INTEREST TO
   JPMORGAN CHASE BANK, N.A. AS TRUSTEE FOR STRUCTURED ASSET
     MORTGAGE INVESTMENTS II INC., BEAR STEARNS AL T -A TRUST,
   MORTGAGE PASS-THROUGH CERTIFICATES, SERIES 2005-7S’ MOTION
     FOR RELIEF FROM THE AUTOMATIC STAY AND WAIVING F.R.B.P.
                            4001(A)(3)

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